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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
JOINT STOCK COMP ANY "CHANNEL ONE
RUSSIA WORLDWIDE," CLOSED JOINT
STOCK COMP ANY "CTC NETWORK,"
CLOSED JOINT STOCK COMPANY "TV                           MEMORANDUM DECISION AND
DARIAL," CLOSED JOINT STOCK COMPANY                              ORDER
"NEW CHANNEL," LIMITED LIABILITY
COMPANY "RAIN TV-CHANNEL," and                                16 Civ. 1318 (GBD) (BCM)
LIMITED LIABILITY COMPANY "GLOBAL
ENTERTAINMENT TV,"

                              Plaintiffs,

              -against-

INFOMIR LLC (www.infomirusa.com), INFOMIR :
GmbH, ALEXANDER MARAHOVSKY, EVGENI:
LEVITIN, TELECOMMUNICATIONS
TECHNOLOGIES LTD., PANORAMA
ALLIANCE, LP (www.mypanorama.tv), ASAF
YEVDAYEV, DAVID ZELTSER, S.K.
MANAGEMENT OF NEW YORK INC.,
MOIDOM LLC, TELEPROM, VDALI, MHCOM
GmbH, and JOHN DOES 1-50,

                     Defendants.
------------------------------------x
GEORGE B. DANIELS, United States District Judge:

       Plaintiffs are a group of Russian broadcasters who assert claims against several Defendants,

including Defendant Infomir LLC, whom Plaintiffs allege intercepts Plaintiffs' programming,

manufactures and distributes set top boxes ("STBs"), and controls software used with the STBs

that enables users to access Plaintiffs' programming without a license. (Compl.   ,r 1.)   This matter

was referred to Magistrate Judge Barbara C. Moses for general pretrial management, including

discovery, and dispositive motions. (ECF Nos. 35 & 64.)

       On June 26, 2018, Magistrate Judge Moses held a conference (the "June 26 Conference")

on discovery disputes raised in Plaintiffs' letter-application dated April 27, 2018, (the "April 27
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Letter," ECF No. 575), and the parties' joint letter dated June 15, 2018. (the "June 15 Letter,"

ECF No. 611.) At the conclusion of the hearing, Magistrate Judge Moses denied the parties' cross-

motions for bond pursuant to Local Civil Rule 54.2. (Deel. of Raymond J. Dowd dated July 17,

2018, Ex. 1 ("Pls. Tr. Excerpts"), ECF No. 633-1, at 182:4-6.) On July 3, 2018, Magistrate Judge

Moses issued an Order (the "July 3 Order," ECF No. 617), resolving various other matters

discussed at the hearing. (Id.)

       Plaintiffs filed objections to the July 3 Order and denial of their bond motion, requesting

that this Court: (1) order Infomir LLC to produce a list of retail and wholesale customers who

purchase its STBs in response to Plaintiffs' second document requests; (2) order lnfomir LLC to

produce documents in response to all of Plaintiffs' third and fourth document requests; (3) order a

third deposition oflnfomir LLC's CEO, Gregory Goldfedib; (4) authorize service of subpoenas on

Infomir LLC's banks; (5) extend fact discovery; and (6) reverse Magistrate Judge Moses's denial

of Plaintiffs' motion for bond. (Mem. in Supp. of Broadcasters' Objs. ("Objs."), ECF No. 632, at

2.) lnfomir LLC filed responses to Plaintiffs' objections. (ECF No. 642.) Plaintiffs' objections

are overruled, and the July 3 Order is AFFIRMED.

                                   I.   LEGAL STANDARDS
       "Magistrate judges are afforded broad discretion in resolving nondispositive disputes and

reversal is only appropriate if their discretion is abused." Winfield v. City of NY, No. 15 Civ.

5236 (LTS) (KHP), 2017 WL 5054727, at *2 (S.D.N.Y. Nov. 2, 2017) (citation omitted). Because

"[m]atters concerning discovery generally are considered 'nondispositive' of the litigation," a

"district court reviews [discovery] orders under the 'clearly erroneous or contrary to law'

standard." Thomas E. Hoar, Inc. v. Sara Lee Corp., 900 F.2d 522,525 (2d Cir. 1990). Clear error

is present when, "upon review of the entire record, [the court is] left with the definite and firm

conviction that a mistake has been committed." United States v. Snow, 462 F.3d 55, 72 (2d Cir.

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2006) (citation omitted). "An order is contrary to law when it fails to apply or misapplies relevant

statutes, case law or rules of procedure." Frydman v. Verschleiser, No. 14 Civ. 8084 (JGK) (JLC),

2017 WL 1155919, at *2 (S.D.N.Y. Mar. 27, 2017) (quoting Thompson v. Keane, No. 95 Civ.

2442 (SHS), 1996 WL 229887, at* 1 (S.D.N.Y. May 6, 1996)). However, "[t]hat reasonable minds

may differ on the wisdom of granting [a party's] motion is not sufficient to overturn a magistrate

judge's decision."' Royal Park Invs. SA/NV v. US. Bank Nat'! Ass 'n, No. 14 Civ. 2590 (VM),

2017 WL 4174926, at *5 (S.D.N.Y. Aug. 28, 2017).

                             II.    THE JULY 3 ORDER IS AFFIRMED
    A. Plaintiffs' Second Document Requests and Request for a Customer List
        In the April 27 Letter, Plaintiffs requested an order compelling Infomir LLC to respond to

Plaintiffs' second requests for the production of documents, dated March 19, 2018 (the "Second

Requests"). 1 (April 27 Letter at 1.) The July 3 Order denied Plaintiffs' request as moot "in light

oflnfomir LLC's service of its written response to the Second Request[s] and related production

of documents." (July 3 Order,r 1 (citing Letter from Raymond J. Dowd to Magistrate Judge Moses

dated April 27, 2018, Ex. A ("Infomir's LLC's Resp. to Pls. 2d Req."), ECF No. 579-1).) Plaintiffs

received Infomir LLC's response, but suggest that it is inadequate. Specifically, Plaintiffs note

that Infomir LLC agreed to search for documents responsive to the relevant requests if Plaintiffs

provided a "reasonable list of persons or entities" and that, although Plaintiffs have identified three

entities, Infomir LLC has not produced such documents. (Objs. at 5-6.)

        However, the July 3 Order expressly states that it is "without prejudice to [P]laintiffs' rights

regarding the content of Infomir[] [LLC's] response or the adequacy of its document production,


1Specifically, Plaintiffs sought responses to requests for: ( 1) "[ d]ocuments sufficient to identify any orders,
subscriptions, invoices, or payments by persons, concerning [STBs] sold by Infomir"; (2) "[ d]ocuments
concerning wholesale orders of [STBs] sold by Infomir"; and (3) "[ d]ocuments concerning the number of
sales and receipts of [STBs] sold by Infomir for each year from 2013 to the present." (Objs. at 5 ( quoting
Letter from Hardin P. Rowley to Magistrate Judge Moses dated June 6, 2018, Ex. G, ECF No. 595-7).)

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discussed below." (Id.   11.)   The Order further explains that "[a]ny party seeking discovery

sanctions ... shall file a letter-application ... after the close of fact discovery but no later than

August 10, 2018." (Id. 114(b).) Thus, Plaintiffs' objections to the adequacy of Infomir LLC's

responses to the Second Requests do not provide a basis for this Court to conclude that Magistrate

Judge Moses's denial of their request was clearly erroneous or contrary to law.

       Plaintiffs further object that, to the extent the July 3 Order denied Plaintiffs' request for a

list oflnfomir LLC's wholesale and retail STB customers, it was clearly erroneous because such

a list is "essential to [Plaintiffs'] claim that Infomir [LLC] facilitates piracy" and "unfairly hides

infringing pirates." (Objs. at 8-9.) But Plaintiffs note that they have already obtained information

to support their claim, as they have "identified two unlicensed [b]roadcasters that use Infomir

brand STBs." (Id. at 8.) The mere fact that additional information would strengthen Plaintiffs'

claim does not indicate that Magistrate Judge Moses's denial of their request for such information

was clearly erroneous.

   B. Plaintiffs' Third and Fourth Document Requests
       In the July 3 Order, Magistrate Judge Moses found that "Infomir [LLC] need not respond

to [P]laintiffs' Third and Fourth Requests for Production of Documents ... dated May 3 and May

24, 2018, which were not timely served." (July 3 Order 15.) Plaintiffs argue Magistrate Judge

Moses's decision not to compel responses to the requests was "clearly erroneous" because the

document requests were based on newly discovered evidence-specifically, facts learned from

Goldfedib's second deposition, a "thorough review" of shipping invoices, and third-party

document discovery-that could not have been discovered earlier. (Objs. at 10-11.) However, all

of the facts Plaintiffs cite were presented to Magistrate Judge Moses in the June 15 Letter and

exhibits, and Plaintiffs do not argue that she failed to consider them. (See June 15 Letter at 4-6;

Objs. at 11 (citing June 15 Letter, Ex. A   113,   5, 7, 10).) Thus, Plaintiffs have not shown that

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Magistrate Judge Moses's denial of their motion to compel responses to the Third and Fourth

Document Requests was clearly erroneous.

    C. Plaintiffs' Request for a Third Deposition of Goldfedib

        The July 3 Order does not specifically address Plaintiffs' request for a third deposition of

Goldfedib. However, the July 3 Order extends the close of fact discovery to July 31, 2018 for

other limited purposes and states "[a]ll relief not specifically granted herein is denied." (July 3

Order 113.) Plaintiffs argue that Magistrate Judge Moses "committed reversible error by not

considering that Infomir [LLC] has relied on withheld documents and the prior false testimony of

Goldfedib to claim that he is merely an importer of STBs." (Objs.at 12.) However, Plaintiffs note

that they provided Magistrate Judge Moses with "documents in which Goldfedib tells third parties

that Goldfedib is manufacturer [sic] of the ... STBs," and a letter that Plaintiffs claim "detail[s]

Goldfedib's perjury" during his deposition was attached as an exhibit to the June 15 Letter. (Objs.

at 12 (citing June 15 Letter, Ex. A).) Plaintiffs have cited no evidence that Magistrate Judge Moses

failed to consider these documents. Moreover, assuming that Goldfedib provided false testimony

in his prior depositions, Plaintiffs have offered no explanation of why they believe Goldfedib

would testify truthfully if asked to sit for a third deposition. Thus, Magistrate Judge Moses's

denial of Plaintiffs' request for a third deposition of Goldfedib was not clearly erroneous.

    D. Subpoenas to Non-Party Banks
        Plaintiffs assert that "at the June 26 ... Conference and in the subsequent July 3 Order,

[Magistrate] Judge Moses ... declined to permit [Plaintiffs] to serve subpoenas on Infomir' s

banks." 2 (Objs. at 6 (citing July 3 Order 111, 5, 13 and Pl. Tr. Excerpts at 181-82).) Plaintiffs


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  Neither the paragraphs of the July 3 Order nor the portions of the July 26 Conference transcript that
Plaintiffs cite reference the subpoenas. (See Objs. at 6 (citing July 3 Order 'il'il 1, 5, 13 and Pis. Tr. Excerpts
at 181-82).) However, Plaintiffs did previously request that such subpoenas be issued. In an April 25,
2018 Discovery Order and Report and Recommendation ("April 25 Order," ECF No. 569), which was
affirmed by this Court, (ECF No. 605), Magistrate Judge Moses reserved decision on the issuance of the

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object that Magistrate Judge Moses's denial of their request to issue the subpoenas was "clear error

because banking information has enabled [Plaintiffs] to uncover valuable evidence in this case."

(Objs. at 9.) However, as noted above, Plaintiffs' claim that additional discovery would be helpful

does not provide a basis for this Court to find that Magistrate Judge's Moses denial of their request

for such discovery was clearly erroneous or contrary to law.

   E. Plaintiffs' Request for an Extension of Fact Discovery

       In her April 25, 2018 Order, Magistrate Judge Moses set May 31, 2018 as the deadline for

the close of fact discovery. (April 25 Order 111.) On May 30, 2018, Plaintiffs filed a request for

the extension of the deadline which Infomir LLC opposed. (ECF Nos. 589, 591.) Magistrate

Judge Moses denied Plaintiffs' request without prejudice to renewal at the June 26 Conference.

(Order dated June 1, 2018, ECF No. 592.) On June 4, 2018, Plaintiffs submitted a letter (the "June

4 Letter," ECF No. 593) in support of their request for an extension, and Defendants submitted a

letter in opposition. (ECF No. 595.) In the July 3 Order, Magistrate Judge Moses extended the

deadline for the close of fact discovery to July 31, 2018 "for the limited purpose of completing

discovery authorized in this Order." (July 3 Order 113.)

       Plaintiffs ask that this Court "further extend fact discovery to complete the outstanding

discovery," but do not indicate what discovery they seek to complete or the length of time that

they believe is necessary to do so. (Objs. at 2.) Plaintiffs contend that they have shown "good

cause" for an extension, because "(1) trial is not imminent, (2) Infomir would not be prejudiced,"

(3) Plaintiffs "were diligent in seeking the discovery, ... (4) discovery has been extended for other

purposes; and (5) the discovery is relevant to [Plaintiffs'] core allegations and [Plaintiffs] will be

prejudiced" absent an extension. (Objs. at 7.) Plaintiffs made substantially similar arguments to



subpoenas pending the receipt of additional briefing. (April 25 Order ,i 8.) And, as noted above, the July
3 Order states that "[a]ll relief not specifically granted herein is denied." (July 3 Order ,i 13.)

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Magistrate Judge Moses in the June 4 and June 15 Letters, and Magistrate Judge Moses rejected

those arguments.      (See June 4 Letter; June 15 Letter at 1-2.)            Although Plaintiffs state, in

conclusory fashion, that Magistrate Judge Moses' s denial was "[ e]rroneous," they do not explain

how Magistrate Judge Moses erred. (Objs. at 14.) Instead, Plaintiffs simply assert that "the [July

3] Order obstructs [Plaintiffs] from completing the ... discovery needed to defeat Infomir's

defenses and establish Plaintiffs' damages." (Id.) However, Magistrate Judge Moses acted well

within her "broad discretion" in denying Plaintiffs' request for an extension. Winfield, 2017 WL

5054727, at *2. Plaintiffs' assertion that additional discovery would be helpful to them does not

provide a basis to conclude that she abused her discretion or committed clear error.

    F. Plaintiffs' Motion for Bond
        As noted above, at the June 26 Hearing, Magistrate Judge Moses denied the parties' cross-

motions for bond pursuant to Local Civil Rule 54.2. 3 (Pls. Tr. Excerpts at 182:4-6.) Plaintiffs

object that Magistrate Judge Moses's "failure to properly apply the Selletti factors ... was clear

error." (Objs. at 12.) However, the pages of the June 26, 2018 hearing transcript attached to

Plaintiffs' objections make clear that Magistrate Judge Moses considered each of the factors listed

in Selletti v. Carey, 173 F.R.D. 96 (S.D.N.Y. 1997), in deciding the parties' bond motions. 4 (See

Pl. Tr. Excerpts at 178:5-181: 18.) Moreover, Plaintiffs do not explain how Magistrate Judge

Moses's evaluation of those factors was erroneous; they simply provide their own evaluation of

the factors. (Objs. at 12-13.) Even if this Court were to find that "reasonable minds may differ



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 Local Civil Rule 54.2 provides, in relevant part, "[t]he Court, on motion or on its own initiative, may order
any party to file an original bond for costs or additional security for costs in such an amount and so
conditioned as it may designate."

4The factors listed in Selletti are: "[ 1] the financial condition and ability to pay of the party at issue; [2]
whether that party is a non-resident or foreign corporation; [3] the merits of the underlying claims; [4] the
extent and scope of discovery; [5] the legal costs expected to be incurred; and [6] compliance with past
court orders." 173 F.R.D. at 100-01.

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on the wisdom of granting [Plaintiffs'] motion," such a finding would not provide a basis to

overturn Magistrate Judge Moses's decision. Royal Park Invs. SA/NV, 2017 WL 4174926, at *5.

       Plaintiffs further argue that Magistrate Judge Moses's decision was contrary to law

because, in addition to the six factors listed in Selletti, she considered a seventh factor-

specifically, whether the "party which seeks a bond [is] actually paying its own costs." (Objs. at

13 (quoting Pls. Tr. Excerpts at 181 :22).) Magistrate Judge Moses found that because a third party,

Kartina GmbH, is paying Plaintiffs' legal fees, "to require an opposing party to post a

bond ... would really run in favor not of the party itself but in favor of ... Kartina [GmbH]."

(Objs. at 13 (quoting Pls. Tr. Excerpts at 181 :24-182:1).) However, the decision in Selletti does

not indicate that its list of factors is exclusive; rather, it simply notes factors that are "generally

considered" in determining bond motions. Selletti, 173 F.R.D. at 100.

        Plaintiffs contend that consideration of this additional factor "would defeat the purpose of

most intellectual property licenses where a licensee bears the policing burden." (Objs. at 13.) But

Plaintiffs' argument simply illustrates how the facts of this case-specifically, the payment of

Plaintiffs' legal fees by a third party-make it different from other cases. Because a determination

of whether to grant bond requires "an individual determination made on the facts of each case,"

Magistrate Judge Moses's decision to consider such facts here was neither clearly erroneous nor

contrary to law. Selletti, 173 F.R.D. at 100.

        Plaintiffs request that, if it declines to reconsider the denial of their bond motion, this Court

"certify the issue of whether a Local Rule 54.2 bond should be awarded as an interlocutory appeal

pursuant to 28 U.S.C. § 1292." 5 (Objs. at 3.) However, the Second Circuit has "repeatedly


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  28 U.S.C. § 1292(b) provides that a district court may certify an interlocutory appeal if it finds that an
order "involves a controlling question of law as to which there is substantial ground for difference of
opinion and that an immediate appeal from the order may materially advance the ultimate termination of
the litigation."

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cautioned that use of this certification procedure should be strictly limited because 'only

exceptional circumstances [will] justify departure from the basic policy of postponing appellate

review until after the entry of a final judgment."' In re Flor, 79 F .3d 281, 284 (2d Cir. 1996)

(quoting Klinghoffer v. S.NC. Achille Lauro, 921 F.3d 21, 25 (2d Cir. 1980)) (alteration in

original). Here, Plaintiffs make no argument as to why such certification is warranted. Because

Plaintiffs have not demonstrated the requisite exceptional circumstances, their request for

certification pursuant to § 1292 is denied.

                                      III.    CONCLUSION
       Plaintiffs' objections are OVERRULED. Magistrate Judge Moses's July 3, 2018 Order,

(ECF No. 617), is AFFIRMED.



Dated: New York, New York
       September 24, 2018

                                                           SO ORDERED.




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